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                                                                                  May 12, 2023
  Via ECF

  The Honorable Ann M. Donnelly
  United States District Judge
  U.S. District Court, Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201
  Re: Henkin, et al. v. Qatar Charity, et al., 21-cv-05716-AMD-VMS
  Dear Judge Donnelly:
       My firm represents Plaintiffs in the above-captioned action, in which the Court denied without
  prejudice motions to dismiss by Qatar Charity and Masraf al Rayan (collectively “Defendants”)
  and assigned Magistrate Judge Scanlon to “manage the jurisdictional discovery and set a briefing
  schedule for any additional dispositive motions.” ECF 81 at 29. We submit this letter in
  opposition to: (1) Masraf al Rayan’s (“Masraf”) request for “a pre-motion conference to file a
  renewed motion to dismiss” (see ECF 83 at 1), and (2) Qatar Charity’s letter seeking immediate
  termination of discovery and dismissal of Plaintiffs’ claims. See ECF 84 at 1, 2. Defendants’
  applications violate this Court’s order assigning the management of jurisdictional discovery and
  the scheduling of additional dispositive motions to Magistrate Scanlon. For that reason alone, the
  Court should summarily deny Defendants’ requests.
       Contrary to Defendants’ arguments, jurisdictional discovery has not “revealed” anything
  because Plaintiffs have not yet received any discovery from Defendants. The deadline for
  Defendants’ written responses and objections is not until May 15. ECF 83 at 1 n.1. Defendants
  thus seek to shut down the Court-ordered discovery before it has even begun because they know
  that good faith responses will demonstrate that Masraf purposefully availed itself of the New York
  banking system to further Defendants’ conspiracy to finance Hamas.
       After meet-and-confer discussions with Defendants’ counsel, Plaintiffs significantly reduced
  the scope of their requests, as reflected in the documents annexed as Exhibits 1 (Qatar Charity) and
  2 (Masraf). The parties also agreed that, on May 10, 2023, they would submit a joint letter to
  Magistrate Scanlon outlining their three disputes, including the issue at the heart of Defendants’
  current applications—their objection to providing discovery concerning Masraf’s use of
  correspondent accounts at any bank other than Bank of New York Mellon (“BONY”). The two
  additional issues the parties agreed to submit to Magistrate Scanlon were: (1) the parties’ dispute
  regarding “the time period relevant to the terrorist attacks” (ECF 81 at 29); and (2) whether the
  “document requests” the Court authorized include requests directed to Masraf’s correspondent
  bank. Despite the parties’ agreement, Masraf elected to seek a pre-motion conference rather than
  submitting the joint discovery letter to the Magistrate.
       As “support” for ignoring the Court’s Order and the parties’ agreement, Defendants cite the
  written objections to a subpoena Plaintiffs served on BONY in accordance with the Court’s order
  permitting service of “document requests . . . that could show the frequency with which Masraf …
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  used . . . the [BONY] account, and whether that use was deliberate.” ECF 81 at 29.1 Those
  objections state—contrary to Plaintiffs’ counsel’s understanding—that Masraf maintained no
  account at BONY during the relevant period. Defendants seize upon this fact to argue that
  Plaintiffs’ apparent misidentification of which institution served as Masraf’s correspondent bank
  requires the termination of all jurisdictional discovery before it has even begun.
       As Qatar Charity previously noted, “the central allegation upon which Plaintiffs seek to base
  their personal jurisdiction argument [is that] U.S. Dollars were transferred through a
  correspondent account in New York.” ECF 68 at 2 (emphasis added). Contrary to what
  Defendants now argue, whether that correspondent account was at BONY, or another New York
  bank, is not “fundamental[]” to Plaintiffs’ personal jurisdiction theory. See ECF 84 at 2. Rather,
  jurisdiction turns on Masraf’s “repeated use of a correspondent account in New York on behalf of
  a client.” Licci v. Lebanese Canadian Bank, SAL, 20 N.Y.3d 327, 339 (2012) (emphasis added).
       Defendants also ignore that Plaintiffs have more generally alleged, in compliance with Rule
  8(a)(1)’s notice pleading requirement, that Masraf purposefully availed itself of correspondent
  banking services in New York. See ECF 1 at ¶ 156 (Masraf “arranged with banking institutions
  that maintained offices located in New York to conduct ‘correspondent banking’ transactions that
  allowed Masraf … to move USD through the international banking system”); ¶ 161 (Masraf
  “maintained a direct or indirect banking relationship with Bank of New York Mellon, and perhaps
  other U.S. banks”); ¶ 163 (“By means of the transactions that Masraf … conducted through its
  correspondent accounts, the bank was able to” conduct the relevant transfers); ¶ 164 (“Masraf …
  used its correspondent banking relationships in New York to process USD transactions for Qatar
  Charity.”) (all emphases added).
       Moreover, as Plaintiffs emphasized at oral argument, those allegations are fully supported by
  the July 26, 2017 Israeli indictment, conviction, and sentencing of Qatar Charity’s Ramallah office
  accountant, Fadi Manasra, which admitted that Masraf passed dollars through “a bank in New
  York” for Qatar Charity. See ECF 79-1 at 11 at ¶ 5. Although Defendants initially claimed Mr.
  Manasra’s confession did not exist, the Court has recognized it as a document relied upon and
  incorporated into the Complaint. See, e.g., ECF 81 at 4-5, 6, 16, 27 (citing ECF 79-1 at 11). That
  document, which would suffice to prove Defendants’ use of the New York banking system at trial,
  defeats Defendants’ hyperbolic claims regarding the significance of the misidentification of the
  specific correspondent bank Masraf used to move those funds. See, e.g., Sander v. Enerco Grp.,
  Inc., 2023 WL 1779691, at *2 (S.D.N.Y. Feb. 6, 2023) (“If a document relied on in the complaint
  contradicts allegations in the complaint, the document, not the allegations, controls ....”) (internal
  quotation omitted).
       Thus, contrary to Defendants’ claims, Plaintiffs’ theory of personal jurisdiction is anything but
  frivolous, and the discovery they seek defies Defendants’ efforts to deem the requests a fishing
  expedition.2 Rather, Plaintiffs’ central allegation that Defendants used a New York correspondent
  bank to pass money to a banned, Hamas-affiliated organization is based upon documentary

  1
     Defendants mischaracterize Plaintiffs’ document subpoena as “improper[],” “unscrupulous,” a “discovery abuse[],”
  and “in circumvention of the Court’s order” (ECF 83 at 2; ECF 84 at 1, 2, 3), despite the fact that the Court did not
  limit “document requests” to those served under Rule 34. When notified of Defendants’ objection that the document
  subpoena was allegedly beyond the scope of the Court-ordered discovery, Plaintiffs voluntarily adjourned the return
  date of the subpoena until the parties could obtain the Magistrate’s guidance at the hearing scheduled for May 16.
  2
    See, e.g., Singer v. Bank of Palestine, 2021 WL 4205176, at *7 (E.D.N.Y. Apr. 30, 2021) (“While a court should not
  approve a fishing expedition when little more exists than plaintiff’s bare assertions that jurisdiction is proper, under
  New York law plaintiffs are entitled to discovery regarding the issue of personal jurisdiction if they have made a
  sufficient start, and shown their position not to be frivolous.”) (internal quotation omitted).
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  evidence Defendants incredibly claimed they could not access, despite having submitted a copy of
  it to the Court. See ECF 68-2 at 10-12. A Qatar Charity employee is the source of that
  information. And Defendants are well aware both that they used a New York correspondent bank
  and the identity of that institution, which they currently refuse to identify. Plaintiffs’ allegations
  thus easily satisfy Rule 8(a)(1)’s notice pleading requirements.
       The Court granted Plaintiffs the ability to conduct discovery “to develop the record” regarding
  Defendants’ use of the New York banking system. ECF 81 at 26. Plaintiffs have sought precisely
  this information by propounding discovery asking Masraf to identify any New York bank accounts
  it used to process U.S. dollar-denominated transactions for Qatar Charity and to produce
  documents related to those accounts.
       Masraf has refused to produce any such information. Instead, it seeks to hide the ball by
  claiming that Plaintiffs can only obtain discovery concerning a Masraf account at BONY that
  apparently does not exist. No purpose would be served—other than potentially insulating
  Defendants from the consequences of their support for a known terrorist front—by denying
  Plaintiffs discovery regarding the specifics of the very transactions they identified in their
  Complaint based upon Mr. Manasra’s admissions. In that regard, it is significant that Masraf’s
  counsel have refused to certify that their client did not use a New York correspondent account in
  connection with the relevant transactions. Instead Masraf seizes upon Plaintiffs’ misidentification
  of the institution that conducted those non-public, confidential correspondent banking transactions
  as a basis for dismissing Plaintiffs’ claims although Defendants know the identity of that
  institution. That tactic is pure gamesmanship that undermines the Federal Rules’ purpose of
  promoting the “just” resolution of litigation. See Fed. R. Civ. P. 1.
       At bottom, the steps the Court should take at this juncture turn upon the reasons the Court
  granted jurisdictional discovery and its objective in providing that relief. If the Court permitted
  Plaintiffs to conduct discovery solely because they identified BONY as Masraf’s correspondent
  bank, then perhaps the Court should terminate discovery and adjudicate Defendants’ motions to
  dismiss. If the Court grants those motions on the current record because Plaintiffs mis-identified
  the relevant bank, however, Plaintiffs will request their first amendment of the Complaint. In that
  event, the parties will likely be back in the same positions they occupy today, only at a much later
  date. See Fed. R. Civ. P. 15(a)(2) (“The court should freely give leave when justice so requires.”).
       If, on the other hand, the Court noted Mr. Manasra’s confession and wished to provide
  Plaintiffs with the required reasonable opportunity “to determine whether there are additional facts
  that would permit the Court to determine whether there is personal jurisdiction” (ECF 81 at 26),
  the reasonable discovery concerning Defendants’ correspondent banking transactions that
  Plaintiffs have sought will serve that objective. See, e.g., Singer, 2021 WL 4205176, at *7. Only
  that approach will promote the interests of justice in this important matter, where Plaintiffs’
  decedents died at the hands of Hamas terrorists, and senior officials of Qatar Charity have
  confessed that Masraf used a New York correspondent bank to provide financial support for Qatar
  Charity, a banned supporter of Hamas that Israel explicitly warned Masraf not to service.
      For the foregoing reasons, the Court should deny the relief Defendants seek and order them to
  provide reasonable discovery regarding their use of New York correspondent accounts.
                                                Respectfully submitted,

                                                /s/ Patrick L. Rocco
  Attachments
